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Ani Ghazaryan

645 0 Olcott Street
Tuj unga, CA 91042
Tel.: 818-730-7570

Plaintiff In Pro Per

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ANIGHAZARYAN,anindividual; C§Vc]se§lo?s 0 9 6 0 4 " R(Q'/< M/€(L/X

Plaintiff, coMPLAINT FoR;

vs. 1. Willful Violations of Federal Fair
Credit Reporting Act, 15 U.S.C. §
1681 et seq.;

2. Negligent Violations of Federal Fair
Credit Reporting Act, 15 U.S.C. §
1681 et seq.;

)

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EXPERIAN INFORMATION SOLUTIONS, )
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)
)
) 3. Intentional Violations of California
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INC., An Ohio Corporation;

EQUIFAX INFORMATION SERVICES,

LLC, A Georgia Limited Liability Cornpany.

Defendants. Consumer Credit Reporting
Agencies Act, Cal. Civ. Code § 1785
et seq.;

4. Negligent Violations of California
Consumer Credit Reporting
Agencies Act, Cal. Civ. Code § 1785
et seq.

 

 

NATURE OF ACTION

l(-.l'k Uo.l ‘§.()'.\,
This is a private action brought by an individual consum§r _u__n er(F de

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Reporting Act (“FCRA”), 15 U.S.C. §1681 et seq., and its equivalent State Act, Con‘umer redit
Reporting Agencies Act (“CCRAA”), Cal. Civ. Code §1785 et seq..

 

JURISDICTION AND VENUE
l. This Court has jurisdiction under 15 U.S.C. §l681p, Cal. Civ. Code § 1785.33, and 28
U.S.C. § 1331. ‘

2. This Court has supplemental jurisdiction over the State claims under 28 U.S.C. '§l367(a).

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COMPLAINT

 

 

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events giving rise to this action occurred in the State of California in the Central District of
California, and where Defendants transact business in said State and district.

PARTIES

resided in the State of California, County of Los Angeles.
5. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a(c) and Cal. Civ. Code §
1785.3(b).

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Ohio Corporation, conducting business in the State of California.
7. Defendant EQUIFAX INFORMATION SERVICES, LLC (“EQUIFAX”) is a

Georgia Limited Liability Company, conducting business in the State of California.

“person” as defined by 15 U.S.C. § 1681a(b) and Cal. Civ. Code § 1785.3@).

1785.3(d), respectively.

or authorized such act or omission while engaged in the management, direction, or control of the
affairs of Defendants and while acting within the scope and course of their duties.

FACTUAL ALLEGATIONS

2014.

2

3. Venue is proper before this Court pursuant to 28 U.S.C. § l391(b),» where the acts or

4. Plaintiff ANI GHAZARYAN (“Plaintiff”) is an individual who at all relevant times

6. Defendant EXPERIAN INFORMATION SOLUTIONS, INC. (“EXPERIAN”) is an

8. Defendants EXPERIAN and EQUIFAX (collectively “Defendants”) are each a

9. Defendants EXPERIAN and EQUIFAX are each a “Consumer reporting agency” and
“Consumer credit reporting agency” as defined by 15 U.S.C. § 1681a(f) and Cal. Civ. Code §

10. When a reference in this Complaint is made to any act or omission of Defendants’
corporation, company, association, business entity, or partnership, such allegation shall be deemed to

mean that Defendants and their owners, officers, directors, agents, employees, or representatives did

11. In July of 2014, DISCOVER furnished a “30 days past due” delinquency remark on
Plaintiff’ s credit report with the credit reporting agencies, including EXPERIAN and EQUIFAX, for
PlaintifF s DISCOVER account number 60110()()()6263()9()4 (hereinafter the “account” or

“DISCOVER account). There were at least two payments made on the account for the month of July

 

COMPLAINT

 

 

 

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12. On November 13, 2014, Plaintiff called DISCOVER and spoke to one of its
representatives, who identified herself as Jordan at extension 40489. During this conversation,
Plaintiff inquired about DISCOVER’s reporting of the 30-day inaccurate delinquency on her credit
report. DISCOVER assured Plaintiff that it would remove the inaccurate delinquency remark from

the account with the credit reporting agencies

13- On December 8, 2014, Plaintiff contacted the credit reporting agencies, including
EXPERIAN and EQUIFAX, and disputed the inaccurate late payment that was reported about the
DISCOVER account on Plaintiff`s credit report. Specifically, Plaintiff disputed the said delinquency
with Banny at EXPERIAN, and Francis at EQUIFAX. Plaintiff gave both EXPERIAN and
EQUIFAX DISCOVER’s representative’s (Jordan) name and contact information for faster
confirmation and correction of the inaccurate delinquency reporting

14- By December 16, 2014, in response to Plaintiff’s dispute, EXPERIAN claimed to have

allegedly verified, with the furnisher, the account information to be accurate.

15. On December 17, 2014, Plaintiff called DISCOVER and spoke to Jessica, who informed
Plaintiff that they report on the 9th of each month and that they had not received any request for

reinvestigation of the 30-day delinquency reported on the account.

16- By- December 25, 2014, in response to Plaintiff’s dispute, EQUIFAX claimed to have
verified the account information to be accurate.

17- On or about May 30, 2015, Plaintiff sent follow~up letters to both §XPERIAN and
§QUIFAX concerning her disputes of the delinquency reported on the account, but to no avail '

18. On July l, 2015 , Plaintiff called EXPERIAN and spoke to Damon, who informed
Plaintiff that EXPERIAN just started to process a request for correction of the delinquency reported
on the DISCOVER account.

19- The inaccurate delinquency reporting was finally removed from Plaintiff s credit report
on July 2, 2015.

20~ For approximately one year Plaintist credit report was marked with the inaccurate
delinquent information, which greatly harmed her credit rating. EXPERIAN and EQUIFAX failed to

conduct proper investigation into Plaintiff’s dispute, claimed the account was verified, and continued

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to maintain an inaccurate delinquency on Plaintiff’s credit file and disseminate such inaccurate,
negative information about 'Plaintiff. As a result of the negative reporting, several of Plaintiff’s
existing credit lines were decreased drastically or closed, and she Was denied for new credit/loans.
Plaintiff also suffered great mental and emotional distress, anxiety and sleeplessness as a result of
her credit situation caused by the Def`endants, primarily because she could not finance for her son’s
medical examinations and treatments that he desperately needed.

21. As a result of Defendants’ conduct, Plaintiff’ s damages include but are not limited to the
following:

a. Decreased credit rating and creditworthiness
b. Actual damages caused by monetary losses relating to closed accounts, decreased
credit limits, denials to obtain new accounts and credit, and loss of credit and loan
opportunities;
c. Out of pocket expenses incurred as a result of Plaintiff`s inability to use her credit
where needed, in addition to fees associated with her attempts to correct her credit report;
d. Emotional distress, mental anguish, and other health issues and consequential medical
expenses associated with derogatory credit information Defendants maintained about
Plaintiff, refused to delete, and released to third parties with access to Plaintiff’ s credit
reports;
FIRST COUNT
Willful Violations of FCRA, 15 U.S.C. § 1681 et seq.
(Against Defendants EXPERIAN and EQUIFAX)

22. Plaintiff repeats and repleads each and every allegation contained in all prior paragraphs

and incorporates the same herein by reference.

23. EXPERIAN and EQUIFAX prepared, compiled, issued, assembled, transferred,
published, and otherwise reproduced “consumer reports” regarding the Plaintiff, as this term is
defined in FCRA, 15 U.S.C. § 1681a(d), which contained inaccurate information

24. EXPERIAN and EQUIFAX willfully violated FCRA, including but not limited to:

a. failing to follow reasonable procedures to assure maximum possible accuracy of the

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COMPLAINT

 

 

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information in Plaintiff s credit report, as required by 15 U.S.C. § 1681e(b);

b. failing to adopt and follow reasonable procedures to insure proper investigation,
accuracy, and update of information in Plaintiff’s credit file, in compliance with the
reinvestigation requirements of15 U.S.C. § 1681i;

c. failing to provide notice of results of reinvestigation pursuant to 15 U.S.C. §
1681i(a)(6);

25. EXPERIAN and EQUIFAX’s violations actually and proximately caused Plaintiff`s
injuries.

26. Plaintiff prays for declaratory relief pursuant to 28 U.S.C. § 2201 and § 2202, that
EXPERIAN and EQUIFAX violated the FCRA.

27. Plaintiff further prays for actual and statutory damages pursuant to 15 U.S.C. § l681n
(a)(l)(A); costs and attorney’s fees pursuant to 15 U.S.C. § l681n (c); and punitive damages for
EXPERIAN and EQUIFAX’s willful noncompliance pursuant to 15 U.S.C. § l681n (a)(2).

SECOND COUNT
Negligent Violations of FCRA, 15 U.S.C. § 1681 et seq.
(Against Defendants EXPERIAN and EQUIFAX)

28. Plaintiff repeats and repleads each and every allegation contained in all prior paragraphs
and incorporates the same herein by reference

29. EXPERIAN and EQUIFAX prepared, compiled, issued, assembled, transferred,
published, and otherwise reproduced “consumer reports” regarding the Plaintiff, as this term is
defined in FCRA, 15 U.S.C. § 1681a(d) , which contained inaccurate information

30. EXPERIAN and EQUIFAX negligently violated FCRA, including but not limited to:

a. failing to follow reasonable procedures to assure maximum possible accuracy of the
information in Plaintiff’s credit report, as required by 15 U.S.C. § 1681e(b);

b. failing to adopt and follow reasonable procedures to insure proper investigation,
accuracy, and update of information in Plaintiff` s credit file, in compliance with the
reinvestigation requirements of 15 U.S.C. § l681i;

c. failing to provide notice of results of reinvestigation pursuant to 15 U.S.C. §

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COMPLAINT

 

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1681i(a)(6);

31.ExPERlAN and EQUiFAx’s violations actually and proximately caused Plaintier
injuries.

32. Plaintiff prays for declaratory relief pursuant to 28 U.S.C. § 2201 and § 2202, that
EXPERIAN and EQUIFAX are in violation of the FCRA.

33. Plaintiff is entitled to actual damages pursuant to 15 U.S.C. § 16810(a)(1), and costs and
attorney’s fees pursuant to 15 U.S.C. § 16810(a)(2).

THIRD COUNT
Intentional Violations of CCRAA, Cal. Civ. Code § 1785 et seq.
(Against Defendants EXPERIAN and EQUIFAX)

34. Plaintiff repeats and repleads each and every allegation contained in all prior paragraphs
and incorporates the same herein by reference.

35. EXPERIAN and EQUIFAX prepared, compiled, issued, assembled, transferred,
published, and otherwise reproduced “consumer reports” regarding the Plaintiff, as this term is
defined in CCRAA, Cal. Civ. Code § 1785.3(a)(3)(c), which contained inaccurate information

36. EXPERIAN and EQUIFAX willfully violated CCRAA, including but not limited to:

a. failing to follow reasonable procedures to assure maximum possible accuracy of the
information in Plaintiff’s credit report, as required by Cal. Civ. Code § 1785.14(b);

b. failing to adopt and follow reasonable procedures to insure proper investigation,
accuracy, and deletion/correction of inaccurate information in Plaintiff’s credit file, in
compliance with the reinvestigation requirements of Cal. Civ. Code § 1785.16;

c. failing to provide notice of results of reinvestigation pursuant to Cal. Civ. Code §
1785.16(d); 1

37. EXPERIAN and EQUIFAX’s violations actually and proximately caused Plaintiff’s
injuries.

38. As a result of the EXPERIAN and EQUIFAX’S violations of the CCRAA, Plaintiff
suffered personal humiliation, embarrassment, mental anguish, and emotional distress. Plaintiff is
entitled to actual damages pursuant to Cal. Civ. Code § 1785.31(a)(2)(A); punitive damages for

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EXPERIAN and EQUIFAX’s willful noncompliance pursuant to Cal. Civ. Code § 1785.31(a)(2)(B);
and injunctive relief ordering EXPERIAN and EQUIFAX to delete any inaccurate delinquency
remarks from Plaintiff" s credit report that they may still be reporting about the account, pursuant to
Cal. Civ. Code § 1785.31(b).
FoURTH COUNT
Negligent Violations of CCRAA, Cal. Civ. Code § 1785 et seq.
(Against Defendants EXPERIAN and EQUIFAX)

39. Plaintiff repeats and repleads each and every allegation contained in all prior paragraphs
and incorporates the same herein by reference.

40. EXPERIAN and EQUIFAX prepared, compiled, issued, assembled, transferred,
published, and otherwise reproduced “consumer reports” regarding the Plaintiff, as this term is
defined in CCRAA, Cal. Civ. Code § l785.3(a)(3)(c), which contained inaccurate information

41. EXPERIAN and EQUIFAX negligently violated CCRAA, including but not limited to:

a. failing to follow reasonable procedures to assure maximum possible accuracy of the
information in Plaintiff’ s credit report, as required by Cal. Civ. Code § 1785.14(b);

b. failing to adopt and follow reasonable procedures to insure proper investigation,
accuracy, and deletion/correction of inaccurate information in Plaintiff’s credit file, in
compliance with the reinvestigation requirements of Cal. Civ. Code § 1785.16;

c. failing to provide notice of results of reinvestigation pursuant to Cal. Civ. Code §
1785.16(d);

42. EXPERIAN and EQUIFAX’s violations actually and proximately caused Plaintiff s
injuries

43. As a result of the EXPERIAN and EQUIFAX’s violations, Plaintiff suffered personal
humiliation, embarrassment, mental anguish, and emotional distress Plaintiff is entitled to actual
damages, including court costs and attorney’s fees; pain and suffering, pursuant to Cal. Civ. Code §
l785.31(a)(l); and injunctive relief ordering EXPERIAN and EQUIFAX to delete any inaccurate
delinquency remarks from Plaintiff’s credit report that they may still be reporting about the account,
pursuant to Cal. Civ. Code § 1785 .31(b).

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DATED: December 14, 2015

PRAYER FOR RELIEF FOR ALL COUNTS
WHEREFORE, Plaintiff prays for relief against all Defendants as follows:

Actual damages;

Statutory damages;

Legal fees and costs;

Civil Penalties;

Prejudgment and post judgment interest;
Punitive damages;

D_eclaratory relief;

Injunctive relief;

Any additional remedies as the court deems proper.

Plaintiff requests trial by jury.

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COMPLAINT

 

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ClVlL COVER SHEET
l. (a) PLA|NT|FFS ( Check box if you are representing yourself |:] ) DEFENDANTS (Check box if you are representing yourself [:] )
. . . . . . EXPERIAN lNFORMATlON SOLUTIONS, lNC
A"" Ghazarya“' an '“d""d'ua' Eouii=Ax iNFoRMATioN sERvicEs, LLc
(b) County of Residence of First Listed Plaintiff LOS ANGELES County of Residence of First Listed Defendant n
(EXCEPTIN U.S. PLA/NT/FF CASES) (/N U.S. PLAINTIFF CASE$ ONLY)
(c) Attorneys (Firm Namel Address and Telephone Number) if you are Attorneys (Firm Name, Address and Telephone Number) if you are
representing yourself, provide the same information. representing yourself, provide the same information.

Ani Ghazaryan, Plaintiffin Pro Per
6450 Oicott St, Tujunga, CA 91042
818-730-7570

 

 

lI. BAS|S OF JURISD|CT|ON (P|ace an X in one box oniy.) |ll. ClTlZENSHlP OF PR|NC|PAL PARTIES-For Diversity Cases On|y
(P|ace an X in one box for plaintiff and one for defendant)
1. U.S. Govemment 3. Federa| Question (U.S. Citizen ofThis State EF 1 352 incorporated Or Prin€ipai P|aCe EF 4 |[JJEF 4
Plaintiff Govemment Not a Party) ` °f Busmess m th'$ State

Citizen ofAnotherState 1:] 2 1:] 2 incorporated and PrincipaiP|ace |:| S [:| 5
of Business in Another State

 

 

2. U.S. Govemment 4. Diversity (indicate Citizenship Citizen or Subject of a . .
Defendant |:| of Parties in item |||) FOreign Country l:| 3 l:| 3 Forelgn Nat|°n l:| 6 |:l 6
lV. OR|GiN (P|ace an X in one box oniy.) 6 Mum
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v.REQUESTEDiN coMPLAiNT: JURY iJEMAND; Yes |:] No (Check "Yes" onlyifdemanded in complaint.)

CLASS ACT|ON under F.R.CV.P. 232 13 YeS No MONEY DEMANDED lN COMPLA|NT: $ EXCeedS $2,000,000
Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional statutes unless diversity.)
Vioiation of Fair Credit Reporting and State equivalent Acts

 

V||. NATURE OF SU|T (P|ace an X in one box only).

  
   

     
    

          

    
  

  
     

  
     
   

    
  

   

  

 
     

       

         
  

 

     
           

 
   

 

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FOR OFFICE USEONLY: Case Number. 0 9 6 '

CV-71 (10/14) ClVlL COVER SHEET b Page 1 °f3

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uNiTED sTATEs DisTRicT couRT, cENTnAL DisTRicT oF cALiFoRNiA
civiL covER sHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assig ned. This initial assignment is subject
to change, in accordance with the Court's Genera_| Orders, upon review by the Court of your Complaint or Notice of Removal.

QUEST|ON A: Was this case removed '
from state court?

 

 
   

 

 

[] Yes No ' ' 6
|:1 Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
if "no, " skip to Question B. if "yes," check the
box to the right that applies, enter the l:l Ora"ge Southern
corresponding division in response to _ _
Question E, below, and continue from there. l___l R'Ve'$‘de °r San Be"‘ardln° Eastern

 

   
    

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r case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, beiow, and continue

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QUESTlON B: is vthe Unlted ‘Sta‘t'es,' or lB.1.v Do 50% or more of the defendants who reside in § YES' You
one of its agencies or employees, a the district reside in Orange Co.? [:\
PLA|NT|FF in this action?

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from there.
check one of the boxes to the right _}

Yes xNo
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NO. Continue to Question B.2.

 

B.2. Do SO% or more of the defendants who reside in

., .. . . .. .. YES. Yourcase will initia|| be assi ned to the Eastern Division.
if 001 Skip to Que$“°" C' if YeS» answer the district reside in Riverside and/or San Bernardino |:| y g

Enter “Eastern" in response to Question E, below, and continue

 

Question B~l, at right Counties? (Consider the two counties together.) from there
check one of the boxes to the right NO. Your case will initially be assigned to the Western Division.
' ' , |:1 Enter “Western" in response to Question E, beiow, and continue

from there.

           

 

 

 

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QUEST|ON C: |S the Unlfed SfafeS, 0|' C-`l - DO 50% Or more °f the Pla'nt'ff$ Wh° reside m the YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a d'S"'Ct 'e$'de m Orange C°-? |:| Enter "Southern" in response to Question E, beiow, and continue
DEFENDANT in this action? v _., from there.

check one of the boxes to the right
l:l Yes N° \:| NO. Continue to Question C.2.
C.2. Do SO% or more of the plaintiffs who reside in the YES Your case Wm inman - - - »

n " _ _ " ,_ _ _ 5 _ _ _ v . y be assigned to the Eastern Division.
if no,. skip to Question D. if yes, answer dl$mct reside in piverside and/of Sa_l" Bema*'d'“° [:] Enter "Eastern" in response to Question E, beiow, and continue
Question C.1, at right. Counties? (Consider the two counties together.) from there_

check one of the boxes to the right _> NO. Your case will initially be assigned to the Western Division.
|:] Enter “Western" in response to Question E, below, and continue
from there.

 

 

 

 

 
 

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indicate the |ocation(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none ofthese choices appiy.)

  
 

 

indicate the |ocation(s) in which 50% or more of defendants who reside in t_his

distrlict) reside. (Check up to two boxes, or leave blank if none of these choices
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D.1 . ls there at least one answer in Coiumn A?

6,

D.2. is there at least one answer in Coiumn B?

I:| Yes \:] No l:| Yes No
if "yes," your case will initially be assigned to the if "yes," your case will initially be assigned to the
SOUTHERN DiVlSiON. EASTERN DiVlSiON.

Enter "Southern" in response to Question E, beiow, and continue from there. Enter "Eastern" in response to Question E, below.

x

if x‘no,‘x go to question 02 to the right. -' if “no,“ your case will be assigned to the WESTERN DiVlSiON.

Enter “Western" in response to Question E, below.

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

 

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UN|TED STATES DlSTRlCT COURT, CENTRAL D|STR|CT OF CALiFORNlA

ClVlL COVER SHEET

lX(a). lDENTlCAL CASES: Has this action been previously filed in this court? NO |:l YES

if yes, list case number(s):

 

lX(b). RELATED CASES: is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

if yes, list case number(s):

No [j YEs

 

Civil cases are related when they (check all that apply):

|:| A. Arise from the same or a closely related transaction, happening, or event;
[:l B. Cail for determination ofthe same or substantially related or similar questions of law and fact; or

1:1 C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

1:] A. Arise from the same or a closely related transaction, happening, or event;
[:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

 

X. SlGNATURE OF ATTORNEY
(OR SELF-REPRESENTED lelTlGANT):

DATE: 12/14/2015

 

neither replaces nor supplements the filing and service of pleadings or other papers as required by |aw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV~O71A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HlA

BL

D|WC

DiWW

SSlD

RS|

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Tit|e 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services underthe program.
(42 u.s.c. 1935FF(b))

All claims for "Black Lung“ benefits under Tit|e 4, Part B, of the Federa| Coal Mine Hea|th and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims pled for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Tit|e 2 of the Socia| Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Socia| Security Act, as
amended.

Aii claims for retirement (old age) and survivors benefits under Title 2 ofthe Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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